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3       Telephone: 310/277-6910
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5       Proposed Attorneys for David K. Gottlieb, Chapter 7 Trustee
6

7
                                        UNITED STATES BANKRUPTCY COURT

8
                                         CENTRAL DISTRICT OF CALIFORNIA

9
                                           SAN FERNANDO VALLEY DIVISION

10      In re:                                                      Case No.: 1:18-BK-10098-MB

11      PENTHOUSE GLOBAL MEDIA,INC.,                                Chapter 7

12                                            Debtor.               Jointly Administered with Case Nos.
                                                                      18-bk-10099-MB      18-bk-lOlOl-MB
                                                                      18-bk-10102-MB      18-bk-l 0103-MB
13
       ^ Affects All Debtors                                          18-bk-10104-MB      18-bk-10105-MB
                                                                      18-bk-l 0106-MB     18-bk-10107-MB
14      r~l Affects Penthouse Global Broadcasting, Inc.
                                                                      18-bk-10108-MB      18-bk-10109-MB
        □     Affects Penthouse Global Licensing, Inc.                18-bk-lOl 10-MB     18-bk-lOl 11-MB
15
        |~1   Affects Penthouse Global Digital, Inc.                  18-bk-lOl 12-MB     18-bk-lOl 13-MB
16      □     Affects Penthouse Global Publishing, Inc.
        □     Affects GMI Online Ventures, Ltd.                     CHAPTER 7 TRUSTEE'S APPLICATION
17                                                                  TO EMPLOY LAW OFFICES OF
        □     Affects Penthouse Digital Media Productions, Inc.     BRADLEY E. BROOK, APC AS SPECIAL
18      □     Affects Tan Door Media, Inc.                          COUNSEL, EFFECTIVE AS OF APRIL 16,
        [~|   Affects Penthouse Images Acquisitions, Ltd.           2019, PURSUANT TO SECTIONS 327(a),
19      □     Affects Pure Entertainment Telecommunications, Inc.   328.330 AND 331 OF THE BANKRUPTCY
                                                                    CODE; DECLARATION OF BRADLEY E.
        □     Affects XVHUB Group, Inc.                             BROOK IN SUPPORT THEREOF
20
        □     Affects General Media Communications, Inc.
21      □     Affects General Media Entertainment, Inc.
        □ Affects Danni Ashe, Inc.
                                                                    [No Hearing Required]
22      I~1 Affects Streamray Studios, Inc.

23
                   David K. Gottlieb, the duly appointed chapter 7 trustee (the "Trustee") in the above-
24
        captioned bankruptcy cases (the "Cases") of Penthouse Global Media, Inc. and its debtor affiliates
25
        (collectively, the "Debtors"), hereby files this application (the "Application") for entry of an order
26
        authorizing the Trustee's retention and employment of the Law Offices of Bradley E. Brook, APC
27
        ("the Firm"), effective as of April 16, 2019, as special counsel to (a) analyze, prepare and prosecute
28



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1    objections to claims with compensation to be paid on an hourly basis, and (b) pursue claims and
2    causes of action against third parties including, without limitation, avoidance actions on a
3    contingency fee basis as discussed below and as set forth in the Declaration of Bradley E. Brook (the
4    ''Brook Declaration") attached hereto and filed in support hereof. The Firm's business offices are

5    located at 11500 W. Olympic Blvd., Suite 400, Los Angeles, California 90064. This Application is
6    brought pursuant to section 327(a), 328,330 and 331 of title 11 ofthe United States Code (the
7    "Bankruptcv Code"). Federal Rule of Bankruptcy Procedure 2014, and Local Bankruptcy Rule
8    2014-1. In support ofthe Application, the Trustee respectfully represents as follows:
9             1.       On January 11,2018,the Debtors each filed voluntary petitions for relief under
10   chapter 11 ofthe Bankruptcy Code, which Cases are being jointly administered under case number
11   l:18-bk-10098-MB [Docket No. 17].

12            2.       On March 2,2018, the Court entered an order directing the appointment of a Chapter
13   11 Trustee [Docket No. 231].

14            3.       On March 6,2018,the United States Trustee filed a Notice ofAppointment ofChapter
15   11 Trustee [Docket No. 236].

16            4.       On March 6,2018,the Court entered an order approving the appointment of David K.
17   Gottlieb as Trustee [Docket No. 239].

18            5.       On January 31,2019,the Chapter 11 Trustee filed a Motionfor Order Converting
19   Cases to Chapter 7[Docket 790], which was granted by Order entered on March 12, 2019[Docket
20   No. 810].

21            6.       On March 13, 2019,the Office ofthe United States Trustee appointed David K.
22    Gottlieb to serve as Chapter 7 Trustee in the Cases [Docket No. 812].
23            7.        This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The venue is proper
24    pursuant to 28 U.S.C. § § 1408 and 1409.
25

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1                                                        I.


2                                                RELIEF REQUESTED


3           The Trustee seeks Court approval to retain the Firm as special counsel, effective as of April
4    16, 2019. The Trustee requests that the Court authorize the Firm to be retained to perform the
5    services described in this Application and the supporting Brook Declaration annexed hereto.
6                                                        II.


7                                                BASIS FOR RELIEF


8            Section 327(a) of the Bankruptcy Code provides as follows:
9                     Except as otherwise provided in this section, the trustee, with the
                      court's approval, may employ one or more attorneys, accountants,
10                    appraisers, auctioneers, or other professional persons, that do not hold
                      or represent an interest adverse to the estate, and that are disinterested
11                    persons, to represent or assist the trustee in carrying out the trustee's
                      duties under this title.
12

13   11U.S.C.§ 327(a).

14           The Trustee seeks to retain the Firm as special counsel to (a) analyze, prepare and prosecute
15   objections to claims asserted in the Cases, primarily administrative expense claims at this juncture,
16   on an hourly fee basis, and(b) prosecute avoidance actions and other applicable causes of action
17   against third parties on a contingency fee basis. Section 328(a)ofthe Bankruptcy Code permits
18   employment of a professional "on any reasonable terms and conditions of employment,
19   including...on a fixed or percentage fee basis...." The Trustee believes that the proposed
20   compensation scheme described above is reasonable under the circumstances ofthese Cases.
21           The Trustee proposes to pay the Firm (a)on an hourly basis to analyze, prepare and
22   prosecute objections to administrative claims; and (b)on a contingency fee basis as set forth below.
23   The hourly rate to be charged by Bradley E. Brook,the principal ofthe Firm who will be providing
24   services to the Trustee in these Cases, is $450.00, as further disclosed in the accompanying Brook
25   Declaration in support of this Application. Paraprofessional time will be charged at $80.00 per hour.
26   The Firm will seek compensation for its services for the Estates and file interim and final fee
27   applications with the court as required by applicable law.
28



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1                                                           III.


2                                   SERVICES TO BE PROVIDED BY THE FIRM

3            This Application seeks to retain the Firm as special counsel to (a)analyze, prepare and
4    prosecute objections to claims asserted in the Cases, primarily administrative expense claims at this
5    juncture, on an hourly fee basis, and (b) prosecute avoidance actions and other applicable causes of
6    action against third parties on a contingency fee basis. The Trustee will ensure there will be no
7    duplication of services by any other firm retained at the expense ofthe estates.
8                                                           IV.


9                                          THE FIRM^S QUALIFICATIONS

10           The Firm has expertise in the areas ofinsolvency, business reorganization, claims litigation,
11   bankruptcy causes of action, collection and other debtor/creditor matters. The Firm has served as
12   bankruptcy counsel to petitioning creditors, trustees, debtors and creditors in a myriad of bankruptcy
13   cases and can provide services in an expedient and economical manner. Based on the foregoing, the
14   Trustee believes that the Firm is well qualified to act as special counsel on behalfofthe Trustee in
15   these Cases, and that the Firm's retention is in the best interests ofthe Debtors' estates and case
16   constituents.

17
                                                             V.


18                                           CONFLICTS INVESTIGATION


19            To check and clear potential conflicts ofinterest in these Cases,the Firm researched its client
20   database for the past two years to determine whether it had any relationships with the following
21   entities (collectively, the "Interested Parties"):
22                     (a)         the Debtors;

23                     (b)         the equity holder ofPenthouse Global Media, Inc.;
24                     (c)         the creditors holding the 20 largest unsecured claims against the Debtors;
25                     (d)         Exworks Capital Funds I LP and Dream Media Corporation; and
26                     (e)         the parties listed on Exhibit"B"to the Brook Declaration.
27

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1            The Firm's research of its relationships with the Interested Parties indicates that the Firm has

2    not represented in the past two years, and does not currently represent, any of these entities in
3    matters unrelated to these chapter 7 Cases.

4                                                         VI.


5                                       THE FIRM IS DISINTERESTED


6            To the best ofthe Trustee's knowledge and based upon the Brook Declaration, the Trustee

7    believes that neither the Firm nor its principals or employees has any connection with the Debtors,
8    any creditors of the estates, any party in interest, their respective attorneys or accountants, the United
9    States Trustee, or any person employed in the Office ofthe United States Trustee.
10           To the best ofthe Trustee's knowledge and based upon the attached Brook Declaration,
11   neither the Firm nor its principals or employees is a creditor, equity security holder, or an "insider"
12   ofthe Debtors as that term is defined in section 101(31) of the Bankruptcy Code.

13            To the best ofthe Trustee's knowledge and based upon the attached Brook Declaration,
14   neither the Firm nor its principals or employees is or was, within two years before the date of the
15   filing ofthe petition, a director, officer, or employee of the Debtor.
16            To the best of the Trustee's knowledge and based upon the Brook Declaration, the Firm is a
17   "disinterested person" within the meaning of section 101(14)ofthe Bankruptcy Code and the Firm
18   does not hold any interest adverse to the estates.
19            The Firm has conducted an extensive conflict check within the Firm's database and thus far
20   the Firm has not encountered any creditors of the Debtors in which an actual conflict exists between
21   the Firm and such creditors. If, at any subsequent time during the course of these proceedings, the
22   Firm learns of any other representation which may give rise to a conflict, the Firm will promptly file
23   with the Court and the Office ofthe United States Trustee an amended declaration identifying and
24   specifying such involvement.

25            To the best ofthe Trustee's knowledge, based upon the Brook Declaration, the Trustee
26   believes that the Firm (a) has no connection with the Interested Parties, the United States Trustee for
27   the Central District of California(the "U.S. Trustee"), any person employed in the Office ofthe U.S.
28   Trustee, or any Bankruptcy Judge currently serving on the United States Bankruptcy Court for the
                                                          5
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1    Central District of California, except as set forth in the Brook Declaration;(b)is disinterested, and

2    (b)does not represent or hold any interest adverse to the Trustee, the Debtors or to their estates with
3    respect to the matters on which the Firm is to be employed. Therefore, the Trustee believes that the
4    Firm's representation is permissible under sections 327(a) and 328 ofthe Bankruptcy Code and is in
5    the best interests ofthe Debtors' estates. The Trustee will ensure there will be no duplication of

6    services by any other firm.

7                                                         VI.


8                                        COMPENSATION TO THE FIRM

9             Mr. Brook has agreed to charge an hourly rate for work performed in these Cases of$450.00
10   and paraprofessional time at $80.00 per hour. The Firm's attorney biographical material is attached
11   to the Brook Declaration as Exhibit "A".

12            With respect to its work performed relating to preparing and prosecuting objections to
13   administrative claims, the Firm intends to apply to the Court for allowance ofcompensation and
14   reimbursement of expenses in accordance with section 327(a), 328, 330 and 331 of the Bankruptcy
15   Code,the Bankruptcy Rules, the Local Rules and orders ofthe Court. The Firm will maintain
16   records in support of any actual and necessary costs and expenses incurred in connection with the
17   rendering of its services in these Cases. The Firm understands that its fees and expenses are subject
18   to allowance by the Bankruptcy Court.

19            With respect to prosecuting avoidance actions and other causes of action against third parties,
20    and subject to the provisions ofsection 328 ofthe Bankruptcy Code, the Bankruptcy Rules and the
21    Local Bankruptcy Rules, the Trustee proposes to pay the Firm on a contingency fee basis, subject to
22    Court approval. The contingency fee shall be calculated as follows:
23                     If a matter is resolved before filing a lawsuit or formal initiation of
              (i)
24
                       proceedings, then Attomey's fee will be twenty five percent(25%)of the
                       gross recovery;
25
              (ii)     If a matter is resolved prior to sixty(60)days before the date initially set for
26                     the trial or arbitration ofthe matter then the Firm's fee will be thirty three and
                       one-third percent(33.33%)ofthe gross recovery; and
27

28



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           1          (iii)     Ifthe matter is resolved after the times set forth in (i) and (ii), above, then
                                Firm's fee will be forty percent(40%)ofthe gross recovery.
          2
                       The Trustee acknowledges that(a)the contingency fee terms are not set by law, but are
          3
               negotiated,(b)the Firm's work on any matter not subject to the contingency fee terms will be
          4
               incurred pursuant to the hourly rate terms, and(c)all fees are subject to Court approval.
          5
                       The Trustee believes that the hourly and contingency compensation arrangements with the
          6
               Firm are reasonable and similar to the rates charged by the Firm to other clients in similar
          7
               circumstances.
          8
                                                                    VIL
          9
                                                  RESPONSES TO APPLICATION
          10
                       Pursuant to Local Bankruptcy Rule 2014-1(b)(4), a hearing is not required in connection with
          11
               the Application unless requested by the U. S. Trustee, a party in interest, or otherwise ordered by the
a         12
z

° X            Court. Pursuant to Local Bankruptcy Rule 2014-1(b)(3), any response to the Application and
«I S      13
2<5            request for hearing must be in the form prescribed by Local Bankruptcy Rule 9013-1(f)(1) and must
oS5       14
22   bi
2e »
               be filed with the Court and served upon the Trustee, its counsel, and the U. S. Trustee no later than
          15
               fourteen days from the date of service of notice of the filing ofthe Application.
          16
                       WHEREFORE,the Trustee requests that this Court approve the employment ofthe Firm as
          17
               special counsel,effective as of April 16,2019, pursuant to section 327(a), 328,330 and 331 ofthe
          18
               Bankruptcy Code,to render services as described above, with compensation to be paid by the estates
          19
               as an administrative expense in such amounts as this Court may hereafter determine and allow.
          20

          21   Dated: April 16,2019                                       Chapter 7 Trust
          22

          23                                                                  David K.


          24

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1                                   DECLARATION OF BRADLEY E. BROOK

2            I, Bradley E. Brook, declare and state as follows:

3            1.       I am the sole shareholder of the Law Offices of Bradley E. Brook, APC (the "Firm").

4    Each of the facts contained in this declaration is based upon my personal knowledge and, if called as

5    a witness, I could and would competently testify thereto. Terms not otherwise defined herein shall

6    have the meanings ascribed to them in the Chapter 7 Trustee's Application to Employ Law Offices of
7    Bradley E. Brook as Special Counsel, Effective as ofApril 16, 2019\
8            2.       The name, address, telephone number and facsimile number ofthe Firm are:

9                                       Law Offices of Bradley E. Brook, APC
                                        11500 W. Olympic Blvd., Suite 400
10                                      Los Angeles, OA 90064
                                        Telephone: 310.839.2004
11
                                        Facsimile:        310.945.0022
12

13           3.       A true and correct copy of my resume is attached hereto as Exhibit A.

14           4.       The Firm is being retained by the Trustee to(a)analyze, prepare and prosecute

15   objections to claims asserted in the Cases, primarily administrative expense claims at this juncture,
16   on an hourly fee basis, and (b)prosecute avoidance actions and other applicable causes of action
17   against third parties on a contingency fee basis.
18           5.       The Firm is willing to provide the foregoing services on the following compensation
19   basis:(a)on an hourly basis to prepare and prosecute objections to administrative claims; and (b)on
20   a contingency fee basis as set forth below. My hourly rate being charged in these Cases is $450.00.
21   Paraprofessional time will be charged in these Cases at $80.00 per hour.
22            6.       The Firm will file interim and final fee applications with the court as required by
23   applicable law.

24            7.       With respect to its work performed relating to preparing objections to administrative
25   claims, the Firm intends to apply to the Court for allowance of compensation and reimbursement of
26   expenses in accordance with section 327(e), 328,330 and 331 ofthe Bankruptcy Code,the
27   Bankruptcy Rules,the Local Rules and orders ofthe Court. The Firm will maintain records in
28
       Capitalized terms not defined herein shall have the same meanings as ascribed to them in the Application.
                                                                8
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1    support of any actual and necessary costs and expenses incurred in connection with the rendering of
2    its services in these Cases.

3           8.      With respect to prosecuting avoidance actions and preparing causes of action against
4    third parties, the Trustee proposes to pay the Firm on a contingency fee basis, subject to Court
5    approval. The Firm's contingency fee shall be calculated as follows:
6
            (iv)    If a matter is resolved before filing a lawsuit or formal initiation of
7
                    proceedings,then Attorney's fee will be twenty five percent(25%)ofthe
                    gross recovery;
8
            (v)     If a matter is resolved prior to sixty(60)days before the date initially set for
9                   the trial or arbitration ofthe matter then the Firm's fee will be thirty three and
                    one-third percent(33.33%)ofthe gross recovery; and
10

11          (vi)    If the matter is resolved after the times set forth in (i) and (ii), above,then
                    Firm's fee will be forty percent(40%)of the gross recovery.
12

13           9.     The Firm has expertise in the areas of insolvency, business reorganization, claims
14   litigation, bankruptcy causes of action, collection and other debtor/creditor matters. The Firm has
15   served as bankruptcy counsel to petitioning creditors, trustees, debtors and creditors in a myriad of
16   bankruptcy cases and can provide services in an expedient and economical manner. Based on the
17   foregoing, the Trustee believes that the Firm is well qualified to act as special counsel on behalf of
18   the Trustee in these Cases, and that the Firm's retention is in the best interests ofthe Debtors' estates
19   and case constituents.

20           10.     The Firm will cooperate with the Trustee's efforts to ensure there will be no
21   duplication ofthe services the Firm is to provide on behalf ofthe estates.
22           11.     To check and clear potential conflicts of interest in these Cases, the Firm researched
23   its client database for the past two years to determine whether it has or had any relationships with the
24   following entities, limited to potential conflicts in its engagement as special litigation counsel
25   (collectively, the "Interested Parties"):
26                  (a)       the Debtors;

27                  (b)       the equity holder ofPenthouse Global Media, Inc.;
28                  (c)       the creditors holding the 20 largest unsecured claims against the Debtors;
                                                         9
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1                   (d)     Exworks Capital Funds ILP and Dream Media Corporation; and
2                   (e)     the creditors ofthe estates, which are listed on Exhibit"B" hereto.
3             12.   The Firm's research of its relationships with the Interested Parties indicates that the

4    Firm has not represented in the past two years, and does not currently represent, any ofthese entities
5    in matters unrelated to these chapter 7 Cases. Neither the Firm nor its principals or employees is a
6    creditor, equity security holder, or an "insider" of the Debtors as that term is defined in section
7    101(31)of the Bankruptcy Code.

8             13.   Neither the Firm nor its principals or employees is or was, within two years before the
9    date of the filing of the petition, a director, officer, or employee ofthe Debtor.
10            14.   The Firm has no connection with the U. S. Trustee, any person employed in the

11   Office of the U.S. Trustee, or any Bankruptcy Judge currently serving on the United States
12   Bankruptcy Court for the Central District of California, and the Firm does not represent or hold any
13   interest adverse to the Trustee, the Debtors or to their estates with respect to the matters on which the
14   Firm is to be employed.

15            15.   The Firm has not encountered any creditors ofthe Debtors in which an actual conflict
16   exists between the Firm and such creditors. The Firm has advised the Trustee that it will conduct an
17   ongoing review of its files to ensure that no conflicts or other disqualifying circumstances exist or
18   arise. If any new facts or relationships are disclosed, the Firm will supplement its disclosure to this
19   Court.

20            16.    The Firm is a "disinterested person" within the meaning of section 101(14)ofthe
21   Bankruptcy Code and the Firm does not hold any interest adverse to the estates.
22

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                     17.     1 am familiar with the Bankruptcy Code, Bankruptcy Rules, Local Bankruptcy Rules,
              and United States Trustee Guidelines with respect to its retention by the Trustee and will comply
              with them.

                     I declare under penalty of peijury that the foregoing under the laws ofthe United States of
              America that the foregoing is true and correct.
                     Executed this 16th day of April,2019 at Los Angeles, California.


                                                                                 Bradley E. Brook



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                               Exhibit A
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                              LAW OFFICES OF BRADLEY E.BROOK.APC




Bradley E.Brook.Esq.

       Bom Shaker Heights, Ohio, April 5,1960; admitted to bar, 1986, California and U.S. District Court, Central

District of California. Education: Northwestem University(B.S. 1982); Ohio State University; Hastings College of

the Law, University of California (J.D., 1986).



       Employment: Principal, Law Offices of Bradley E. Brook and/or Law Offices of Bradley E. Brook, APC
(1990-2003, 2006 to present); Of counsel, Pachulski, Stang, Ziehl, Young & Jones LLP (1990 to 2002), Principal,
Brook & Hochman,LLP (2003-2005).



        Principal practice focus: Civil business litigation, collection matters and representation of debtors,
creditors, trustees and committees in bankruptcy proceedings. Numerous judgments obtained or successful
defenses of clients before Juries,judges, and arbitrators. In 2009, filed largest individual involuntary case in the
Ninth Circuit and prevailed on issue of first impression leading to a recovery in excess of$120 million and full
payment of all creditor claims. Have both prosecuted and defended actions involving fraudulent conveyances,
preferential transfers, and the recovery of assets both forjudgment creditors and for bankruptcy estates.


        Published opinions: In re Marciano, 798 F.3d 1123 (9^*^ Cir. 2013); In re Parmatex (199 F.3d 1029(9
Cir. 1998); In re Marciano^ 459 B.R. 27 (9^*^ Cir. BAP 2011); In re Elder, 262 B.R. 799(C.D. Cal. 2001),In re
Marciano, 446 B.R. 407 (Bankr.C.D.Cal. 2010); Ken Berg v. MTC Electronic Technologies, Inc., 61
Cal.App.4th 349 (2nd District 1998). Co-Author: "Two Years Later: Eight Questions Left Unanswered (or
Extremely Confused) by Deprizio", California Bankruptcy Joumal, Spring 1991.
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                               Exhibit B
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 1                                             EXHIBIT B

                                        CONFLICTS CHECK PARTIES
2


3    10 Homersham Road Kingston                          Cyber Pro Hosting
     101 Modelling Inc.                                  Cyber Security Solutions
4    321 Bayshore Investments Inc.                       Dadashzadeh, Arash
     Abramowitz, Paul                                    Danay Lynn Gonzalez
5    Adult Talent Managers                               Danni Ashe Inc.
     AJ Park IP Pty Ltd.                                 Del Carlo, Eric M.
6
     Akerman LLP                                         Denean Gable

7    Allen Dyer Dopplet Milbrath & Gilchris              Dennemeyer & Associates S.A.
     Allgemeines Treuuntemehmen(ATU)                     Digital Media Consultants LLC
8    Andreas Andreou International                       Disgraceful Inc.
     Androcles Entertainment Pty Ltd                     Dream Media Corporation
9    Apparel Brand Consultants LLC                       Driver, Timothy
     Arash Dadashzadeh                                   DSS Consulting Corporation
10
     Arkena Inc.                                         Dubrow, Eli B., Trustee
11   Arkena SAS                                          Durand, Romaric
     Art Attack Productions                              DVD Factory
12   Aspen Setaro                                        Edgewood Paper
     Atlassian                                           Elle et Lui
13                                                       Elliott, Warren E.
     Basmedia BV Pluggematen
     Bayard PA                                           Encuertros
14
     Behrle, Candace                                     EX Situ Marketing
15   Bekoski, Jason                                      Ex-Works Capital Funds I LP
     Bishop, Christine                                   Federal Express
16   Bishop, Madilyn                                     Ferrise, Ricardo C.
     Bizarre Video                                       Feuer, Sharon
17
      Blockbuster Locations                              Florence, William G.
     BPE&H,an Accountancy corporation                    Fluffy White Dog Media
18
      Brandt, Catherine                                  Francis, Todd
      Brenda Reshell Kibler                              Franchise Tax Board
19
      Bressler Law PLLC ILOTA Account                    Function Fox Systems Inc
20    Broder, Melissa                                    Gallagher, Matt
      C. Hocquel Inc.                                    GAM Inventory Management Services
21                                                        General Media Communications Inc.
      California Choice Benefit Administrators
      Calucag, Alexis                                     General Media Entertainment Inc.
22
      Campbell, Robert                                    Getty Images
23    Camie, David                                        GMI Online Ventures Ltd.
      Cherry, Debbie                                      Gonzalez, Victor
24    Collingwood, Chris                                  Gorilla Convict, LLC
      Combat Zone                                         Gottlieb, David K.
25                                                        Greenberg Traurig LLP
      Corporation Service Company
      Corsearch                                           GRM Information Management Services Inc.
26
      Creel LLC                                           Gronbak, Rasmus
27    Crispin Boyar                                       GSI US
      CSC Corporate Domains, Inc                          Hanrahan Jr., Phillip J.
28    Curacao International Trust Company                 Harary, Keith


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 1       Heller, Brianna                                    Moser, Steven
         Henderson, Jolie K.                                Murat Saygi Ebulula Mardin
2        Hiltpold, Sasha                                    Nathanael Kalfa Consulting
         Hingston, Michael                                  NetNames Accounts Receivable
3
         Hodges, Brad                                       Nextgen Reporting
4        Hogan Loveils US LLP                               Nick Miseur International
         Holland, Kelly                                     Ninja Partners Inc.
5        Hollywood Vaults Inc.                              NOA Productions SPRL
         Horton-Billard, Jr., Theodore                      Noonan,Kevin
6                                                           Nordbak, Jennifer
         Hotel Majestic
         Hudson News Distributors LLC                       O'Brien, Thomas
7
         Hyatt, Jessica                                     OC Modeling
8        Inovio Payments, Inc                               O'Callaghan, Deidre
         Interactive Media                                  Ogun Consulting
9        Iron Mountain                                      Olson, Jerrod
         J.A. Cast Capital, LLC                             Orkin
10
         Jantshukovitsh, Sergei A.                          Pachulski Stang Ziehl & Jones LLP
         Jeanette Beebe Poet & Journalist LLC               Palan, Emily
11
         Johnson, Charlina                                  Palm Beach Beaute
12       Kelly, John                                        Palm Coast Data LLC
         Kelly Publishing                                   Pell, Thomas
13       Kirkendoll Management LLC                          Penthouse Digital Media Productions Inc.
         LSC Communications Inc                             Penthouse Global Broadcasting Inc.
14
         Laura Arielle Willette                             Penthouse Global Digital Inc.
         Law Offices of Max J. Sprecher                     Penthouse Global Licensing Inc.
15
         Lehrman, Jessica                                   Penthouse Global Publishing Inc.
16       Levene Neale Bender Yoo & Brill                    Penthouse Images Acquisitions Ltd.
         Levin, Adam                                        Penthouse World Broadcasting, LLC
17       Lincoln National Life Insurance Company            Penthouse World Digital, LLC
                                                            Penthouse World Licensing, LLC
         Lipez,Zachary
18                                                          Penthouse World Media, LLC,
         Los Angeles County Treasurer & Tax                 Penthouse World Publishing, LLC
         Collector                                          Personnel Concepts
19
         Los Angeles Office of the City Attorney            Pevamik, Christine
20       M7 Group                                           Phe Inc.
         Mannassi IT Solutions                              Philip Tranker International
21       Matrix Models                                      Picha, Tracy
         McSweeney, Leah                                    Pink Panda LLC
22
         Melissa Reanna de Biel Way                         Pintaric, Dubravka
23       Michel Plante International                        Pizio, Barbara F.
         Midwest Lists and Media                             Plashchevatyi, Vladyskav
24       Mikios, Szili                                      Ponce, Jose
         Mile High                                          PR Newswire Associates LLC
25       Millard, Drew                                       Premium Assignment Corporation/Marsh
         Miller Law Group                                    Pretty Things Press
26
         Mish Way, Inc., The                                 PriorityWorkforce
27       Mojo Host                                           Province, Inc.
         Monteleone, Marcella                                Pryor Cashman LLP
28       Morton, Thomas                                      Pure Entertainment Telecommunications Inc.

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 1   Radisav Antic                                       WGCZ LTD.,SRO;Penthouse World Media
     Raganeto, Luciano                                   Wallace, Caroline
2                                                        Waste Management
     Raines Feldman LLP
     Ready Refresh by Nestle                             WebDotCalm
3
     RD Productions                                      Weiss & Spees, LLP
     Right Networks                                      WGCZ Ltd. S.R.O.
4
     Revideo Inc.                                        Whitworth, Keith L.
5    Rollin Dice Productions, LLC                        Willett Associates
     Safe Keeping Records                                Williams, Christina
6                                                        WIPO
     Sahar YaJdii
     Savana Maisah Johnson                               Wood, Mark
7
     Seay, Allison                                       Wood, Megan
     Sedgwick LLP                                        XVHUB Group Inc.
8
     Serenity Balthazar                                  Zinio LLC
9    Sergio Freixas International
     SESAC
10
     Shahar, Yehuda
     Smash Pictures
11
     So Cal Licensing
12   Sotello, Robert
     Spieglergirls.com
13   Spratt, Shannon
     Squar Milner LLP
14
     Stec, Kristin
     StemDoor Inc.
15
     Steven Austin Barber
16   Streamray Studios Inc.
     Szili Miklos
17   Tan Door Media Inc.
     Tanguay, David
18
     Templeton, Susan
19
     Taylor, John
     TGG Accounting
20   Todaro, Camille
     Tom Fox
21    Total Records Information Management LLC
      Turner, Gareth
22
      Ukanis, Whitney
23    Uline
      USPS/Creel
24    US Postal Service
      United States Trustee
25    USA
      V&M Design
26
      Varko, Ivan
27    Verizon Business
      Vincenza Vignetti
28    Vladyslav Plashchevatyl International

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 1                                        PROOF OF SERVICE OF DOCUMENT

2    I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is:
3                     10100 Santa Monica Boulevard, 13^^ Floor, Los Angeles, California 90067
4     A true and correct copy of the foregoing document entitled CHAPTER 7 TRUSTEE'S
      APPLICATION TO EMPLOY LAW OFFICES OF BRADLEY E. BROOK,APC AS
5    SPECIAL COUNSEL,EFFECTIVE AS OF APRIL 16,2019,PURSUANT TO SECTIONS
     327(a),328.330 AND 331 OF THE BANKRUPTCY CODE;DECLARATION OF BRADLEY
6    E. BROOK IN SUPPORT THEREOF will be served or was served (a)on the judge in chambers
     in the form and manner required by LBR 5005-2(d); and (b)in the manner stated below:
7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
8    Pursuant to controlling General Orders and LBR,the foregoing document will be served by the court
     via NEF and hyperlink to the document. On April 16.2019.1 checked the CMp/ECF docket for this
9    bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
10
                                                                       ^ Service information continued on attached page
11
     2. SERVED BY UNITED STATES MAIL:
12   On April 16. 2019.1 served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
13   envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
     judge here constitutes a declaration that mailing to the judge will be completed no later than 24
14   hours after the document is filed.

15                                                                      ^ Service information continued on attached page

16   3. SERVED BY PERSONAL DELIVERY.OVERNIGHT MAIL.FACSIMILE
     TRANSMISSION OR EMAIL (state method for each person or entitv served): Pursuant to
17   F.R.Civ.P. 5 and/or controlling LBR,on April 16. 2019.1 served the following persons ^d/or
     entities by personal delivery, overnight mail service, or(for those who consented in writing to such
18   service method), by facsimile transmission and/or email as follows. Listing the judge here
     constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
19   no later than 24 hours after the document is filed.

20   Via Federal Express
     Honorable Martin R. Barash
21   U.S. Bankruptcy Court - Central District of California
     21041 Burbank Boulevard, Suite 342/ Courtroom 303
22   Woodland Hills, California 91367
                                              I I Service information continued on attached page
23
     I declare under penalty of perjury under the laws ofthe United States that the foregoing is true and
24   correct.

     April 16, 2019                                   Janice 0. Washington                                   /s/Janice G. Washin0on
25          Date                                           Printed Name                                                 Signature

26

27

28
                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District ofCalifornia.

     June 2012                                                                                 F 9013-3.1.PROOF.SERVICE
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 1
         1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
2            (NEFl:

3        Russell Clementson on behalf of U.S.                                               Michael St James on behalf of Creditor
         Trustee United States Trustee(SV)                                                 Interested Party
4        russell.clementson@usdoj.gov                                                      ecf@stjames-law.com

5        James A Dumas, Jr on behalf of Creditor                                            Michael St James on behalf of Interested
         NOA Productions SPRL                                                              Party Michael St. James
6       jdumas@dumas-law.com,                                                              ecf@stjames-law.com
        jdumas@ecf.inforuptcy.com
7                                                                                           Howard Steinberg on behalf of Creditor
        James A Dumas,Jr on behalf of Creditor                                              Greenberg Traurig, LLP
8       Penthouse Global Broadcasting, Inc.                                                 steinbergh@gtlaw.com,
        jdumas@dumas-law.com,                                                               pearsallt@gtlaw.com;laik@gtlaw.com
9       jdumas@ecf.inforuptcy.com
                                                                                            Cathy Ta on behalf of Interested Party
10       Allan B Gelbard on behalf of Other                                                Penthouse Clubs Worldwide, LLC
         Professional Allan B. Gelbard                                                      cathy.ta@bbklaw.com,
11       xxxesq@aol.com,                                                                    Arthur.Johnston@bbklaw.com;lisa.spenc
         Allan@GelbardLaw.com                                                               er@bbklaw.com
12
         David Keith Gottlieb(TR)                                                           United States Trustee(SV)
13       dkgtrustee@dkgallc.com,                                                            ustpregionl6.wh.ecf@usdoj.gov
         dgottlieb@iq7technology.com,ijohnson@
14       dkgallc.com,akuras@dkgallc.com                                                     Michael H Weiss on behalf of Attorney
                                                                                            Weiss & Spees, LLP
15       David W. Meadows on behalf of                                                      mw@weissandspees.com,
         Interested Party Courtesy NEF                                                      lm@weissandspees.com
16       david@davidwmeadowslaw.com
                                                                                            Michael H Weiss on behalf of Debtor
17       Krikor J Meshefejian on behalf of                                                  Danni Ashe,Inc.
         Creditor Interested Party                                                          mw@weissandspees.com,
18       kjm@lnbrb.com                                                                      lm@weissandspees.com

19       Alan I Nahmias on behalf of Interested                                             Michael H Weiss on behalf of Debtor
         Party Courtesy NEF                                                                 GMI Online Ventures, Ltd.
20       anahmias@mbnlawyers.com,                                                           mw@weissandspees.com,
         jdale@mbnlawyers.com                                                               lm@weissandspees.com
21
         Aram Ordubegian on behalf of Creditor                                              Michael H Weiss on behalf of Debtor
22       LSC Communications US,LLC / Creel                                                  General Media Communications, Inc.
         Printing                                                                           mw@weissandspees.com,
23       ordubegian.aram@arentfox.com                                                       lm@weissandspees.com

24       Hamid R Rafatjoo on behalf of Creditor                                             Michael H Weiss on behalf of Debtor
         Committee The Official Committee of                                                General Media Entertainment, Inc.
25       Unsecured Creditors                                                                mw@weissandspees.com,
         hrafatjoo@raineslaw.com,                                                           lm@weissandspees.com
26       bclark@raineslaw.com;cwilliams@raines
         law.com                                                                            Michael H Weiss on behalf of Debtor
27       S Margaux Ross on behalf of U.S.                                                   Penthouse Digital Media Productions,
         Trustee United States Trustee(SV)                                                  Inc.
28       margaux.ross@usdoj.gov
                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District ofCalifornia.
     June 2012
                                                                                               F 9013-3.1.PROOF.SERVICE
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 1      mw@weissandspees.com,                                                             Streamray Studios, Inc.
        lm@weissandspees.com                                                              mw@weissandspees.com,
2                                                                                         lm@weissandspees.com
        Michael H Weiss on behalf of Debtor
3       Penthouse Global Broadcasting, Inc.                                               Michael H Weiss on behalf of Debtor Tan
        mw@weissandspees.com,                                                             Door Media, Inc.
4       lm@weissandspees.com                                                              mw@weissandspees.com,
                                                                                          lm@weissandspees.com
5       Michael H Weiss on behalf of Debtor
        Penthouse Global Digital, Inc.                                                    Michael H Weiss on behalf of Debtor
6       mw@weissandspees.com,                                                             XVHUB Group, Inc.
        lm@weissandspees.com                                                              mw@weissandspees.com,
7                                                                                         lm@weissandspees.com
        Michael H Weiss on behalf of Debtor
8       Penthouse Global Licensing, Inc.                                                  Christopher K.S. Wong on behalf of
        mw@weissandspees.com,                                                             Creditor LSC Communications US,LLC
9       lm@weissandspees.com                                                             / Creel Printing
                                                                                          christopher.wong@arentfox.com
10      Michael H Weiss on behalf of Debtor
        Penthouse Global Media, Inc.                                                      Beth Ann R Young on behalf of Creditor
11      mw@weissandspees.com,                                                             Dream Media Corporation
        lm@weissandspees.com                                                              bry@lnbyb.com
12
        Michael H Weiss on behalf of Debtor                                               Beth Ann R Young on behalf of Creditor
13      Penthouse Global Publishing, Inc.                                                 Interested Party
        mw@weissandspees.com,                                                             bry@lnbyb.com
14      lm@weissandspees.com
                                                                                          Brian L. Davidoff
15      Michael H Weiss on behalf of Debtor                                               bdavidoff@greenbergglusker.com
        Penthouse Images Acquisitions, Ltd.
        mw@weissandspees.com,                                                             Jonathan Hayes
16
        lm@weissandspees.com                                                             jhayes@SRHLawFirm.com
17
                                                                                          Peter W. Lianides
        Michael H Weiss on behalf of Debtor
                                                                                          plianides@wcghlaw.com
18      Pure Entertainment Telecommunications,
        Inc. fka For Your Ears Only, Ltd.                                                 Mark S. Horoupian
19      mw@weissandspees.com,                                                             mhoroupian@sulmeyerlaw.com
        lm@weissandspees.com
20      Michael H Weiss on behalf of Debtor

21

22

23

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 1                           U.S. Bankrupt^ Court - Central District of California
                                              In re Penthouse Global Media,Inc.,
2                                                         Case No. 18-10098-MB

3

4    2. SERVED BY UNITED STATES                                                      Joseph Bain on behalf Penthouse Clubs
         MAIL:                                                                       jBain@joneswalker.com
5
         Debtor                                                                      John D. Kirkendoll
6        Penthouse Global Media, Inc.                                                Founder/CEO
         8944 Mason Ave.                                                             Kirkendoll Management, LLC
7        Chatsworth, CA 91311
                                                                                     jkirkendoll@kirkmgmt.com

8                                                                                    Counselfor WGCZLtd,,S.R,0,
     3. SERVICE VIA ELECTRONIC MAIL                                                  Mark Bryn
9       IN PDF FORMAT                                                                mark@markbryn.com
        Debtor
10       Robert W.Campbell                                                           Paul M.Brent, Esq.
         Penthouse Global Media, Inc.                                                Steinberg, Nutter & Brent
11       rcampbell@penthouse.com                                                     snb300@aol.com

12      Requestfor Special Notice or                                                 Counselfor LSC Communications, US,LL
        Pecuniary Interest                                                           Aram Ordubegian(SBN 185142)
13       Rollin' Dice Productions                                                    aram.ordubegian@arentfox.com
         842 Wilcox Ave #1                                                           Robert M. Hirsh
14       Los Angeles Ca 90038-3654                                                   (pro hac vice application to be submitted)
                                                                                     ARENTFOXLLP
15       Counselfor Walter                                                           robert.hirsh@arentfox.com
         Miller Law Group
16       Representative: Walter M. Stella                                            Counselfor derrick Media derrick Media
         wms@millerlawgroup.com                                                      Holdings,Inc, And derrick Ventures LLC
17                                                                                   Theodore B. Stolman
         Counselfor Penthouse Clubs Worldwide,LLC, ted.stolman@ffslaw.com
18       Penthouse Clubs Global Licensing,LLC and
         Kirkendoll Management,LLC                                                   Blaine Bortnick
19       Mark A. Mintz                                                               bbortnick@rascoklock.com
         mmintz@joneswalker.com
20                                                                                   Counselfor Alpha Cygni,Inc
                                                                                     Rochelle@rislawconsult.com
21

22

23

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28              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District ofCalifornia.

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